Case 2:19-cr-00120-MEF Document1013 _ Filed 03/20/25 Page 1 of 2 PagelD: 33854

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,
No. 19-cr-00120 (MEF)

Vv.
ORDER
GORDON J. COBURN and STEVEN
SCHWARTZ,
Defendants.

The Defendant Steven Schwartz is represented by lawyers from
three firms: Paul Weiss, Gibbons, and Bohrer.

Yesterday, the Paul Weiss lawyers moved to withdraw. See ECF
1012.

Trial is set for April 7. See ECF 1011.

The Court’s assessment of the Paui Weiss motion will be informed
by whether this case can appropriately proceed to trial on April
7 without Paul Weiss. See, e.g., CBRE, Inc. v. Chad Sch. Found.
Inc., 2024 WL 5126767, at *2 (D.N.J. Dec. 17, 2024) (“the degree
to which withdrawal may delay the resolution of the case” is a
factor to consider on a motion to withdraw); Aganan v.
Rodriguez, 2024 WL 2941445, at *2 (D.N.J. dune 11, 2024)
{similar); Green Star Energy Sols., Inc. v. Edison Props., LLC,
2024 WL 415478, at *3 (D.N.J. Feb. 2, 2024) (similar).

The record suggests reasons to think it potentially can.

But in the first instance, the Defendant shall file a very brief
letter today by 2:30pm. The letter shall indicate whether this
case can appropriately proceed to trial on April 7 without Paul
Weiss, in the shared judgment of Mr. Schwartz’s non-Paul Weiss
lawyers.

The purpose of requiring a highly succinct letter is that more
detailed information might implicate privilege issues, and
Case 2:19-cr-00120-MEF Document1013 _ Filed 03/20/25 Page 2 of 2 PagelD: 33855

might therefore be more appropriate for an ex parte, in camera
proceeding.

IT IS on this 20th day of March, 2025, so ORDERED.

Michael E. Farbiarz, U.S.D.Jd.

